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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELA WARE


DELAWARE STATE SPORTSMEN' S
ASSOCIATION, INC. , et al.,

                       Plaintiffs,

               V.                                     Civil Action No. 22-951-RGA
                                                               Consolidated
DELAWARE DEPARTMENT OF
SAFETY AND HOMELAND SECURITY,
et al.,

                               Defendants.




                                              ORDER

       Plaintiffs state that an evidentiary hearing is not required (D.I. 44 at 25) and that

Defendants' declaration evidence is irrelevant (id. at 1). Plaintiffs do not challenge any of it with

any testimonial evidence of their own. Thus, I do not see any need for, and I do not expect, any

live testimony at the preliminary injunction hearing scheduled for February 24 th at 9:00 a.m.

       I note Defendants' request for "half a day" of argument. (D.1. 46 at 2). The time set for

argument is one hour per side.

       IT IS SO ORDERED this ~           y ofFebruary 2023.




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